                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 1 of 6


              1 HANSON BRIDGETT LLP
                JOHN J. VLAHOS, SBN 32673
              2 jvlahos@hansonbridgett.com
                LAWRENCE M. CIRELLI, SBN 114710
              3 lcirelli@hansonbridgett.com
                MEGAN OLIVER THOMPSON, SBN 256654
              4 moliverthompson@hansonbridgett.com
                SHANNON M. NESSIER, SBN 267644
              5 snessier@hansonbridgett.com

              6 425 Market Street, 26th Floor
                San Francisco, California 94105
              7 Telephone:     (415) 777-3200
                Facsimile:     (415) 541-9366
              8
                Attorneys for Defendant
              9 CALIFORNIA DAIRIES, INC.

             10
                                              UNITED STATES DISTRICT COURT
             11
                                           EASTERN DISTRICT OF CALIFORNIA
             12
                GERALD CARLIN, JOHN RAHM, PAUL                        CASE NO. 1:09 CV 00430-AWI
             13 ROZWADOWSKI and DIANA WOLFE,
                individually and all others similarly situated,
             14
                               Plaintiffs,                            STIPULATION AND ORDER TO
             15                                                       EXTEND TIME TO RESPOND TO
                       v.                                             THIRD AMENDED COMPLAINT
             16
                DAIRY AMERICA, INC., and CALIFORNIA
             17 DAIRIES, INC.,

             18                 Defendants.

             19                                                       Action Filed: March 6, 2009

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12501680.2                                                        1                       Case No. 1:09 CV 00430-AWI
                                               STIPULATION AND PROPOSED ORDER
                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 2 of 6


              1          Pursuant to Rule 6-143 of the General Local Rules of the above titled Court, Plaintiffs,

              2 individually and on behalf of themselves and all others similarly situated (“Plaintiffs”), and

              3 Defendants DairyAmerica, Inc. (“DairyAmerica”) and California Dairies, Inc. (“California

              4 Dairies”) (collectively, “Defendants”), by and through their respective attorneys of record,

              5 (collectively, the “Parties”) hereby stipulate to the following:

              6                                              RECITALS
              7          Whereas Plaintiffs filed a Third Amended Complaint on February 10, 2016;

              8          Whereas Defendants filed concurrent Motions to Dismiss Plaintiffs’ Third Amended

              9 Complaint, pursuant to Fed. R. Civ. P. 12(b)(6), on March 30, 2016;

             10          Whereas the Court filed its Order granting in part and denying in part Defendants’ Motions

             11 to Dismiss on May 2, 2016;

             12          Whereas Defendants filed concurrent Motions for Reconsideration of the Order on

             13 Defendants’ Motions to Dismiss on May 16, 2016;

             14          Whereas the Court filed an Order denying Defendants’ Motions for Reconsideration on

             15 June 23, 2016;

             16          Whereas, following the Court’s Order denying Defendants’ Motions for Reconsideration,

             17 the deadline for Defendants to each respond to the Third Amended Complaint was July 7, 2016;

             18          Whereas, given the intervening national holiday and the complexity and length of
             19 Plaintiffs’ Third Amended Complaint, Defendants sought an extension of time to respond thereto;

             20          Whereas, Plaintiffs have agreed to provide Defendants with an extension to the deadline to

             21 respond to the Third Amended Complaint.

             22                                             STIPULATION
             23          Therefore, IT IS HEREBY STIPULATED AND AGREED, by the Parties, through their

             24 respective counsel of record, as follows:

             25          1.      The deadline for Defendants to respond to the Third Amended Complaint shall be

             26 extended by 11 days, up to and including July 18, 2016;
             27          2.      This stipulation will not alter the date of any event or any deadline already fixed by

             28 Court order.

12501680.2                                                         2
                                                 STIPULATION AND PROPOSED ORDER
                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 3 of 6


              1         IT IS SO STIPULATED.

              2 DATED: July 7, 2016                  COHEN MILSTEIN SELLERS & TOLL, PLLC

              3

              4                                      By:       /s/ George F. Farah

              5
                                                           Benjamin D. Brown
              6                                            George F. Farah
                                                           COHEN MILSTEIN SELLERS & TOLL,
              7                                            PLLC
                                                           1100 New York Avenue, Suite 500 West
              8                                            Washington, DC 20005
                                                           Telephone: (202) 408-4600
              9                                            Facsimile: (202) 408-4699
                                                           bbrown@cohenmilstein.com
             10                                            gfarah@cohenmilstein.com

             11                                            Joseph J. Tabacco, Jr
                                                           Christopher T. Heffelfinger
             12                                            Chowning Poppler
                                                           BERMAN DeVALERIO
             13                                            One California Street, Suite 900
                                                           San Francisco, CA 94111
             14                                            Telephone: (415) 433-3200
                                                           Facsimile: (415) 433-6382
             15                                            jtabacco@bermandevalerio.com
                                                           cheffelfinger@bermandevalerio.com
             16                                            cpoppler@bermandevalerio.com

             17                                            Mark A. Griffin
                                                           Cari Laufenberg
             18                                            Raymond Farrow
                                                           KELLER ROHRBACK LLP
             19                                            1201 Third Avenue, Suite 3200
                                                           Seattle, WA 98101
             20                                            Telephone: (206) 623-1900
                                                           Facsimile: (206) 623-3384
             21                                            lsarko@kellerrohrback.com
                                                           claufenberg@keller rohrback.com
             22                                            jfarris@kellerohrback.com

             23                                            Counsel for Plaintiffs and the Proposed Class
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                                          STIPULATION AND PROPOSED ORDER
                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 4 of 6


              1 Dated: July 7, 2016                 DAVIS WRIGHT TREMAINE LLP

              2

              3
                                                    By:     /s/ Charles M. English
              4                                           Charles M. English

              5                                           Charles M. English Pro Hac Vice
                                                          DAVIS WRIGHT TREMAINE LLP
              6                                           1919 Pennsylvania Ave., NW, Suite 800
                                                          Washington, D.C. 20006-3402
              7                                           Telephone: (202) 973-4200
                                                          Facsimile (202 973-4499
              8                                           chipenglish@dwt.com

              9                                           Allison A. Davis
                                                          Sanjay M. Nangia
             10                                           DAVIS WRIGHT TREMAINE LLP
                                                          505 Montgomery Street, Suite 800
             11                                           San Francisco, CA 94111
                                                          Telephone: (415) 276-6500
             12                                           Facsimile: (415) 276-4880
                                                          allisondavis@dwt.com
             13                                           sanjaynangia@dwt.com

             14                                           Joseph M. Marchini
                                                          BAKER MANOCK & JENSEN, PC
             15                                           5260 North Palm Avenue,
                                                          Fourth Floor
             16                                           Fresno, CA 93704
                                                          Telephone: (559) 432-5400
             17                                           Facsimile: (559) 432-5620
                                                          jmarchini@bakermanock.com
             18
                                                          Counsel for Defendant DairyAmerica, Inc.
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                                         STIPULATION AND PROPOSED ORDER
                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 5 of 6


              1 Dated: July 7, 2016                 HANSON BRIDGETT LLP

              2
                                                    By:      /s/ Lawrence M. Cirelli
              3                                           John J. Vlahos
              4                                           Lawrence M. Cirelli
                                                          Megan Oliver Thompson
              5                                           Shannon M. Nessier
                                                          425 Market Street, Suite 2600
              6                                           San Francisco, CA 94105
                                                          Telephone: (415) 777-3200
              7                                           Facsimile: (415) 541-9366
              8                                           jvlahos@hansonbridgett.com
                                                          lcirelli@hansonbridgett.com
              9                                           moliverthompson@hansonbridgett.com
                                                          snessier@hansonbridgett.com
             10
                                                    Counsel for Defendant California Dairies, Inc.
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                                         STIPULATION AND PROPOSED ORDER
                  Case 1:09-cv-00430-AWI-EPG Document 323 Filed 07/07/16 Page 6 of 6


              1                                               ORDER
              2 The Court adopts the Parties’ stipulation as follows:

              3         1.      The deadline for Defendants to each respond to the Third Amended Complaint

              4 shall be extended by 11 days, up to and including July 18, 2016;

              5         2.      This stipulation will not alter the date of any event or any deadline already fixed by

              6 Court order.

              7

              8 IT IS SO ORDERED.

              9 Dated: July 7, 2016
                                                             SENIOR DISTRICT JUDGE
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12501680.2                                                        6
                                                STIPULATION AND PROPOSED ORDER
